  Case 2:15-cr-00570-ES Document 11 Filed 11/03/15 Page 1 of 7 PageID: 15

USA0#2013R1285/DAW/MJW
                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                     HON.
                                             Criminal No. 15- Cl"- .S'7o(~    S)
      v.
                                             18   u.s.c.   §   2251 (a)
CLIFFORD WARES                               18   u.s.c.   §   2422 (b)
                                             18   u.s.c.   §   2423(b)
                                             18   u.s.c.   §   8 7 5 ( d)

                                    INDICTMENT

      The Grand Jury in and for the District of New Jersey,

sitting at Newark, charges:

                                    COUNT ONE

                         (Production of Child Pornography)

      On or about August 17, 2011,         in the District of New Jersey,

and elsewhere, the defendant,

                                 CLIFFORD WARES,

did knowingly employ, use, persuade,            induce, entice, and coerce

and attempt to employ, use, persuade,            induce, entice, and coerce

a minor female      ("MINOR VICTIM l") to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such

conduct, knowing that such visual depiction would be transported

and transmitted using any means and facility of interstate

commerce, and which visual depiction was produced and

transmitted using materials that were mailed, shipped, and

transported in and affecting interstate and foreign commerce by

any means,     including by computer, and attempted to do so;
  Case 2:15-cr-00570-ES Document 11 Filed 11/03/15 Page 2 of 7 PageID: 16


     In violation of Title 18, United States Code, Section

2251(a) and Section 2.

                                 COUNT TWO

                    (Online Enticement of a Minor
                to Engage in Criminal Sexual Conduct)

     From in or about June 2011 through in or about September

2011, in the District of New Jersey, and elsewhere, the

defendant,

                             CLIFFORD WARES,

did, using the mail and any facility and means of interstate and

foreign commerce, knowingly persuade, induce, entice, and

coerce, and attempt to persuade, induce, entice, and coerce,

MINOR VICTIM 1, an individual who had not attained the age of 18

years, to engage in sexual activity for which any person can be

charged with a criminal offense.

             In violation of Title 18, United States Code, Section

2422(b) and Section 2.




                                      2
  Case 2:15-cr-00570-ES Document 11 Filed 11/03/15 Page 3 of 7 PageID: 17


                               COUNT THREE

                   (Interstate Extortionate Threat)

      From in or about at least September 2011, and continuing

through in or about at least October 2011, in the District of

New Jersey, and elsewhere, the defendant,

                             CLIFFORD WARES,

with the intent to extort a thing of value from another person,

namely MINOR VICTIM 1, knowingly transmitted in interstate

commerce a communication containing a threat to injure the

reputation or property of MINOR VICTIM 1.

      In violation of Title 18, United States Code, Section

875 (d).




                                      3
  Case 2:15-cr-00570-ES Document 11 Filed 11/03/15 Page 4 of 7 PageID: 18




                                COUNT FOUR

                     (Online Enticement of a Minor
                to Engage in Criminal Sexual Conduct)

     From in or about June 2011 through in or about August 2011,

in the District of New Jersey, and elsewhere, the defendant,

                             CLIFFORD WARES,

did, using the mail and any facility and means of interstate and

foreign commerce, knowingly persuade, induce, entice, and

coerce, and attempt to persuade, induce, entice, and coerce,

MINOR VICTIM 2, an individual who had not attained the age of 18

years, to engage in sexual activity for which any person can be

charged with a criminal offense.

           In violation of Title 18, United States Code, Section

2422(b) and Section 2.




                                      4
 Case 2:15-cr-00570-ES Document 11 Filed 11/03/15 Page 5 of 7 PageID: 19


                               COUNT FIVE

     (Interstate Travel to Engage in Illicit Sexual Conduct)

     In or about June 2011, in the District of New Jersey, and

elsewhere, the defendant,

                            CLIFFORD WARES,

did knowingly travel in interstate commerce for the purpose of

engaging in illicit sexual conduct as defined in Title 18,

United States Code, Section 2423(f), that is, a sexual act with

a person under the age of eighteen that would be a violation of

Chapter 109A of the United States Code if the sexual act had

occurred in the special maritime and territorial jurisdiction of

the United States, specifically, CLIFFORD WARES, then aged 38,

traveled from New York State to Passaic County, New Jersey,           for

the purpose of knowingly engaging in a sexual act with MINOR

VICTIM 2, a person who had not attained the age of 16 years.

     In violation of Title 18, United States Code, Section

2423(b) and Section 2.




                                     5
  Case 2:15-cr-00570-ES Document 11 Filed 11/03/15 Page 6 of 7 PageID: 20


                                 COUNT SIX

                   (Interstate Extortionate Threat)

      From in or about at July 2011, and continuing through in or

about at least August 2011, in the District of New Jersey, and

elsewhere, the defendant,

                             CLIFFORD WARES,

with the intent to extort a thing of value from another person,

namely MINOR VICTIM 2, knowingly transmitted in interstate

commerce a communication containing a threat to injure the

reputation or property of MINOR VICTIM 2.

      In violation of Title 18, United States Code, Section

875 (d).


                                   A TRUE/BJLL



                                   FOREPElfl'SO~




                                      6
Case 2:15-cr-00570-ES Document 11 Filed 11/03/15 Page 7 of 7 PageID: 21

                                CASE NUMBER:         IS'.- c.r.. 6-?o(e   s)
                  United States District Court
                    District of New Jersey
                  UNITED STATES.OF AMERICA

                                          v.

                          CLIFFORD WARES


                       INDICTMENT FOR
                                  18 U.S.C. § 2251(a),
                              18 U.S.C. § 2422(b) and
                                 18 u.s.c. § 2423(b)
                                . 18 u.s.c. § 875(d)

                 A Tme,gfii




               v Foreperson/
                                 v


                              PAULJ. FISHMAN
                                     US. ATTORNEY
                               NEWARK, NEW JERSEY

                        DANIELLE ALFONZO W ALSMAN
                              ASSISTANT US. ATTORNEY
                                     (973)645-2724

                 USA-48AD8
                 (Ed. 1197)
